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 8                                UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        No. 2:99-cr-0433 WBS AC
12                      Respondent,
13           v.                                       ORDER
14   SON VAN NGUYEN,
15                      Movant.
16

17           By order filed June 20, 2019, the motion to substitute counsel for defendant Son

18   Van Nguyen was provisionally granted provided that counsel filed a properly executed motion

19   within two weeks. ECF No. 1803. Counsel has now filed a properly executed motion. ECF No.

20   1804.

21           Accordingly, IT IS HEREBY ORDERED that the motion to substitute counsel (ECF No.

22   1804) is granted. Attorney Krista Hart is released from her representation of Son Van Nguyen

23   and attorney Benjamin Ramos is hereby appointed to represent Son Van Nguyen.

24   DATED: July 8, 2019.

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